           Case 3:25-cv-01780-WHA              Document 74-1          Filed 03/07/25           Page 1 of 3




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17   Additional counsel on signature page
18
                                  UNITED STATES DISTRICT COURT
19                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
20
21                                                           Case No. 3:25-cv-1780-WHA
     AMERICAN FEDERATION OF
22   GOVERNMENT EMPLOYEES, et al.
                                                             STIPULATION AND [PROPOSED]
23            Plaintiffs,                                    ORDER GRANTING DEFENDANTS’
24                                                           ADMINISTRATIVE MOTION TO
                      v.
                                                             REMOVE INCORRECTLY FILED
25   UNITED STATES OFFICE OF PERSONEL                        DOCUMENTS (DKT. NOS. 35, 36)
26   MANAGEMENT, et al.,

27             Defendants.

28


     Stip. And [Proposed] Order Granting Admin. Motion to Remove Incorrectly Filed Documents
     3:25-cv-1780-WHA
             Case 3:25-cv-01780-WHA            Document 74-1          Filed 03/07/25           Page 2 of 3




 1             Pursuant to Civil Local Rule 7-12, the parties hereby stipulate and respectfully request
 2   that the Court grant Defendants’ Administrative Motion to Remove Incorrectly Filed Documents
 3   and remove the documents filed at Dkt. Nos. 35 and 36 from the public docket. As set forth in
 4   the Administrative Motion, the documents to be removed inadvertently contained the PII of a
 5   third-party. Replacement documents have been filed, and all parties agree to the removal of the
 6
     previously filed versions.
 7
 8       DATED: March 7, 2025
                                                            Respectfully submitted,
 9
         PATRICK D. ROBBINS                                 Scott A. Kronland
10
         Acting United States Attorney                      Stacey M. Leyton
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         /s/ Kelsey J. Helland1                             Danielle E. Leonard
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16       Branch Director                                    By: /s/ Danielle E. Leonard_______
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21       Counsel for Defendants

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      In compliance with Civil Local Rule 5-1(i)(3), the filer of this document attests under penalty of
28   perjury that all signatories have concurred in the filing of this document.



     Stip. And [Proposed] Order Granting Admin. Motion to Remove Incorrectly Filed Documents
     3:25-cv-1780-WHA
                                                           1
           Case 3:25-cv-01780-WHA              Document 74-1          Filed 03/07/25           Page 3 of 3




 1                                           [PROPOSED] ORDER
 2           PURSUANT TO STIPULATION, IT IS SO ORDERED. Dkt. Nos. 35 and 36 shall be
 3   removed from the public docket.
 4
 5
 6
     DATED:
 7
                                                               HON. WILLIAM H. ALSUP
 8                                                             Senior United States District Judge
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     Stip. And [Proposed] Order Granting Admin. Motion to Remove Incorrectly Filed Documents
     3:25-cv-1780-WHA
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